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                     Exhibit 14
 GNC Consultant Competitive Bidding Waiver Request
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12/20/21, 3:02 PM                                                                                       Requisition

    Business Unit: DOCM1                                             Requester: SantosC                                      Status: Complete
    Requisition: 0000112499                                          Requested By: DOC-Santos Cheryl                         Currency: USD
    Requisition Name: Gender Non-Conforming Consulta                 Entered Date: 10/5/21                                   Requisition Total: 0.00
    Header Comments:
    The Department of Correction is requesting a waiver from competitive solicitation with Twin Peaks Counseling to provide Gender Non-Conforming Consultant services for the
    Department; a 1 year term with the option to renew for 1 additional year is requested. These services would be funded with State dollars. The management of GNC persons in
    a custody environment is replete with challenges, including, but are not limited to:
    - accurate identification, classification and facility placement
    - inmate safety
    - day to day custodial management
    - Care of medical and on a case-by-case basis, consideration of gender affirming surgery for those inmates to who this form of care is opined to be medically necessary
    - Staff /education and development.

    Efforts have been made by the Connecticut Department of Correction (CTDOC) to provide supportive management of the needs of this population, by both custodial and HSU
    staff. The care and management issues faced by Department are driven in part by legal mandates, including, but not limited to, case law and constitutional law, obligating the
    Department to provide care for this population commensurate with existing standards in the community. There is no known state agency that has a comprehensive
    understanding of the challenges faced by CTDOC in our management and health care provision of this population. To the Department¿s knowledge, there is no state agency
    that is attempting to provide this expert consultative support for working effectively with the Gender Non-Conforming population. The only way to ensure that the Department is
    meeting its legal obligations to this population, thereby possibly avoiding negative patient outcomes and costly litigation, is to acquire expert, consultative assistance from a
    clinician/professional in this field. This is the reason that The Department of Correction is seeking to hire a Gender Non-Conforming Consultant.

    It is critical that the Department secure the services of a consultant with direct experience in providing the specific need of CTDOC in the management of our Gender Non-
    Conforming (GNC) population.
    Gender Non-Conforming (GNC) individuals, in the community, have an attempted suicide rate that approaches nearly 50% for that population. This extreme risk is only
    exacerbated by incarceration, where additional stressors build for those individuals. Combining incarceration and gender transition, neither of which can be placed on pause
    until the other is resolved, requires the Department to have expert guidance in the care of those in transition. To mitigate this constant, very present risk that exceeds other
    populations within the Department, we must tailor the treatment for this population, including the possibility of surgery and managing expectations surrounding possible surgical
    outcomes.

    The Department is facing current litigation that may be costly not only in potential damages awarded to the plaintiff, but also by having outside entities dictate to the Department
    how future similar situations will be handled. Rapid acquisition of a GNC Consultant may have an immediate positive impact on not only this pending litigation but suits that may
    arise in the future on this topic. The process of putting the hiring of the GNC Consultant out for the RFP process would result in delays in bringing on a qualified person in this
    role. This specific delay could have very negative impact on litigation in which the Department is presently involved.

    The nature of the work to be conducted by this consultant is highly specialized and will require a specific set of skills and competencies in identifying, treating, and guiding GNC
    individuals in safe gender transition. The selected consultant will have extensive knowledge and experience not only working with GNC individuals but, more specifically,
    working with those who are seeking gender affirming care.

    The candidate selected by DOC is an expert in this area and will be able to, draw on both his professional and unique personal experience to accurately identify those
    individuals who are at risk, and through specific gender transition counseling and education, mitigate this system-wide risk concern. Also, the candidate has the ability to have
    immediate impact on suicide risk mitigation, provide immediate assistance with active Departmental litigation in a way that may limit or extinguish that specific litigation through
    provision of care, and the ability to provide immediate impact on departmental education in the area of Gender Non-Conforming care and management.

    This selected expert has experience in writing supportive letters that must be completed and presented to qualified surgeons prior to an individual undergoing surgical
    transition, has a background in understanding the scope of pre/intra/post-surgical transition so as to guide the Department in mitigating poor medical outcomes as it relates to
    the identified candidates for gender affirming care, and can provide support for staff development, in the form of teaching/lecturing on subjects pertaining to the LGBTQAI2S
    spectrum of individuals and their experience of incarceration.

    The majority of the selected provider¿s professional practice is directed at assisting those who identify as GNC individuals with their gender transition, making him exceptionally
    familiar and comfortable with this specialized area of care. This is a skill set for which the Department has an immediate need for due to current and foreseeable potential
    litigation. The candidate will be able to immediately apply this skill set to those individuals requiring gender affirming care. Also, although not a requirement for the position, the
    identified candidate is an expert in this field with lived-in experience as a GNC person and would be ideal, given the additional cultural competence and authority that an expert
    of this nature could provide.

    The selected contractor has provided education to the GNC community at large and specifically with respect to staff development efforts, has provided these services to Griffin
    Hospital in Derby, Connecticut; the contractor has ready-to go lectures from which he can provide education for multiple disciplines within an institutionalized setting. Not having
    to wait for a professional to produce this kind of educational material at the Department¿s request means that this education can be provided to staff expeditiously, if not
    immediately. This potential rapid boost in Departmental understanding will also aid in more competent care, risk mitigation, and reduction in potential unforeseen liability
    generated by the Department¿s necessary work with this population.

    Neither CTDOC nor any other state agency has in-house staff with the required skills, knowledge, and expertise to undertake this work.
    The Department of Correction Gender Non-Conforming Consultant (GNCC) will be contracted to provide for, at least, the following three service needs:

    - The GNCC will provide therapy and counseling for those Gender Non-Conforming (GNC) persons in custody in need the specialized support required for gender transition.
    Although the GNCC is likely to be a qualified mental health provider (no less than Master¿s prepared) in areas other than GNC support, the focus of any counseling done by
    the GNCC will be exclusively related to transition. The GNCC will focus on providing critical education for any potential candidates for gender affirming surgery (with a number
    of procedures now covered by Husky) to ensure accurate understanding of the procedures and aftercare. Potential candidates for such surgery will be determined on a case by
    case basis. The GNCC will assist in obtaining informed consent from these potential patients for their surgery and may also be asked to complete letters that are often required
    by surgeons who specialize in this form of care.

    In addition, for select cases of those already involved in medical transition through Department provided gender affirming hormone care, the GNCC may meet with these
    individuals as well. This would be particularly true if an individual is having an experience of that care that is perceived as either medically, cognitively, or emotionally unusual.
    An unexpected consequence of the development of Administrative Directive (AD) 8.17 (Gender Non-Conforming), is the increased number of individuals who have come
    forward and declared their identity as a trans male or trans female. Given the number of transgender individuals in various facilities within the Department, the actual needs for
    therapy to support those seeking to undergo gender transition is not known. It is not uncommon for trans persons to mask their identity as a trans person when entering a

https://corefn.ct.gov/psc/FNPRD/view/pQzUdYlA8vB_vXBC8LpsqRr5GqUju1umfcsYItWNs2GI7_0wbh8uGSygu_u2tyGEdzF4fNEKQ5nsw8sKWB5tXL…                                                                  1/2
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    correctional setting due to perceived vulnerability in that setting. With the number of trans persons greater than anticipated, the Consultant will also try to help determine what
    the appropriate number of hours per week that will be needed to provide transition care for those seeking it. Once those approximate hours are established, the Department will
    be able to identify how to fill this role going forward; that is, if the position should remain as an outside contractor, or is the position should be established as position within DOC
    Health Services.

    - The GNCC would also participate in the quarterly Gender Non-Conforming Supervision Group, a multidisciplinary meeting intended to provide front-line custody staff, custody
    leadership, and Health Services staff who have direct management and care responsibilities for our Gender Non-Conforming persons in custody. By having this expert in this
    meeting, the Department would ensure that the shared successes and challenges faced by every facility related to GNC management and care were consistent with community
    standards. The GNCC would also be available for occasional consultation with the participants of the Gender Non-Conforming Supervision Group at times other than group
    supervision time for those instances in which a facility is trying to resolve a unique challenge that must be resolved immediately, and for which the standard custody and
    healthcare practices may fall short. By performing these expert consultant duties, the GNCC would allow the Department to stay ahead of potential litigation that may
    unexpectedly arise due to the Department¿s lack of knowledge in this area of practice. The GNCC may be asked to both provide and help coordinate additional staff training
    that would occur on at least an annual basis related to GNC patient care and custodial management.

     - Lastly, the GNCC would serve as a voting panel member on the Gender Affirming Surgery Panel. This small select group of Departmental custody, medical, mental health
     leadership, as well as one of the attorneys from the Department¿s Legal Affairs Unit, on a case by case basis, will evaluate potential candidates for gender-affirming surgery,
     providing recommendations to the Commissioner about individuals who may be appropriate to move forward with this form of gender-affirming care. The GNCC will meet with
     the potential surgical candidates prior to the panel¿s discussion and assist in identifying which candidates are appropriate to move forward with surgery. The Gender Affirming
     Surgery Panel would meet every six months to discuss potential candidates, as well as discuss any challenges or opportunities related to this form of gender-affirming care that
     may be present for a particular candidate and the Department.
   Line: 1        Item Description: Gender Non-Conforming Quantity:               UOM: HR         Price:              Line Total: 62,720.00           Cntrct_ID:
                  Consultant Services                           224.0000                          280.0000
                                                                                                                      Line Status: Closed        PO_Auth: CONT
                                                                                                                      CM Num:
   Line Comments:
   **Start Date 11/1/2021 - End Date 11/1/2022****Start Date 11/1/2021 - End Date 11/1/2022****Start Date 11/1/2021 - End Date 11/1/2022**


    Ship Line: 1                                   Ship To: 1590000043                             Address:                                       Shipping Quantity: 224.0000
    Attention: DOC-Santos Cheryl                   Due Date:                                       24 Wolcott Hill Road                           Shipping Total: 62,720.00
    Ship Via: COMMON                               Freight Terms:FOB DEST                          Central Office
                                                                                                   Central Receiving
                                                                                                   Wethersfield CT 06109
                                                                                                   United States

          Dist               Status             Location                          Qty             PCT                    Amount       GL Unit                Account
         1                  Complete             ACORE                       224.0000           100.00                  62,720.00     STATE                   51230

                    Dept                            Fund                                                      Program                                Class
                 DOC88170                          11000                                                        25005                                12242

              Open QTY                           PC BU                                          Project                                              Open Amt
       224.0000                                 NONPC                                    DOC_NONPROJECT                                               0.000

                    GL Base Amount                            Currency                                Sequence                               Capitalize
        62,720.00                                               USD                                       0                                      N




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